Case 2:22-cv-00462-DLR Document 11 Filed 04/11/22 Page 1 of 2

Colin L. Clark, Esq. (Ariz. Bar No. 33457)

LAW OFFICES OF SCOTT M. CLARK, P.C.
4222 BH. Thomas Rd., Ste. 230

Phoenix, Arizona 85018

(602) 957-7877 [Tel]

(602) 957-7876 [Fax]

www. scottclarklaw.com

colin(@scottclarklaw.com
Altornaeys jor Defendant

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Jennifer Saint Patrick, Case No. 2:22-cy-00462-DLR
Plaintiff, NOTICE OF APPEARANCE
Vv. Assigned to the Hon, Douglas L. Rayes

RH1 San Notterra, LLC; Mark-Taylor
Residential, Inc.; Logen Watts; and Tracy
Mendoza

Defendants.

PLEASE TAKE NOTICE that the Law Offices of Scott M. Clark, P.C., by Colin L. Clark,
Esq., hereby enters its appearance on behalf of Defendants RHI 1SAN NORTERRA, LLC,
MARK-TAYLOR RESIDENTIAL, INC., LOGEN WATTS, and TRACY MENDOZA

for all further proceedings in the above-captioned matter.

5 \\aw Dax \ Vy
RESPECTFULLY SUBMITTED THIS DATE, the \ \_ of Cy \ 20." ,

H

LAW OFFICES OF SCOTT M. CLARK, P.C.

BOR
af fi

a
A
i

| | AG / U \ j
By oR Af Ne A \ S/S

Colin L. Clark, Esq.
Attorneys for Defendants

Saint Patrick adv. RHI San Norterra, LLC et. al.
Notice of Appearance Page 1 of 2

Case 2:22-cv-00462-DLR Document 11 Filed 04/11/22 Page 2 of 2

CERTIFICATE OF SERVICE

Thereby certify that on April 11, 2022 I electronically transmitted the attached document to the Clerk's
Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the
following CM/ECF registrants:

Douglas M. Imperi, Jr.
Dessaules Law Group

5343 N. 16th St, Ste. 200
Phoenix, Arizona 85016
dimperi(@dessauleslaw.com
Attorney for Plain iff

Saint Patrick adv. RHI San Norterra, LLC et. al.
Notice of Appearance Page 2 of 2

